    Case 2:13-cv-05861-JLS-AJW Document 24 Filed 10/02/15 Page 1 of 12 Page ID #:510
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                                       WESTERN DIVISION
 21                                               No. CV 13-5861 GHK(AJWx)
      UNITED STATES OF AMERICA ex
 22 rel.[UNDER SEAL];                             IN CAMERA MEMORANDUM OF
                   Plaintiffls],                  PI  NT              AUTHORITIES IN
 23                                               SUPPORT OF STIPULATION
 24                       v.                      REQUESTING EXTENSION OF SEAL
                                                  AND UNITED STATES' ELECTION
 25 jUNDER SEAL],                                 PERI  OD;IN CAMERA DECLARATION
                                                  OF JOHNS L I                    UPPORT
                   Defendant[s].                  THERE    OF
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  27                                               tFILED UNDER SEAL PURSUANT TO
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21
      UNITED STATES OF AMERICA ex                  No. CV 13-5861 GHK (AJVVx)
22    rel. [UNDER SEAL],
                                                   IN CAMERA MEMORANDUM OF
23               Plaintiffs],                      DINT        AUTHORITIES IN
                                                    SUPPORT OF STIPULATION
24                      v.                         REQUESTING EXTENSION OF SEAL
                                                    AND UNITED STATES' ELECTION
25    [UNDER SEAL],                                PERIOD; IN CAMERA DECLARATION
                                                   OF JOHN E. LEE IN UPPORT
26               Defendant[s].                      THEREOF
27                                                 [FILED UNDER SEAL PURSUANT TO
                                                   THE FALSE CLAIMS ACT, 31 U.S.C.
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21
       [JNITED STATES OF AMERICA ex                   No. CV 13-5861 GHK(AJWx)
22      rel. MARIA GUZMAN,
                                                     IN CAMERA MEMORANDUM OF
23                 Plaintiff,                        ~IN~~D AUTHORITIES IN
                                                     SUPPORT OF STIPULATION
24                        v.                         REQUESTING EXTENSION OF SEAL
                                                     AND UNITED STATES' ELECTION
25      INSYS THERAPEUTICS,INC.,                     PERIOD; IN CAMERA DECLARATION
                                                     OF JOHN E. LEE IN UPPORT
26                 Defendant.                        THEREOF
27                                                   [FILED UNDER SEAL PURSUANT TO
                                                     THE FALSE CLAIMS ACT,31 U.S.C.
28                                                   && 3730(bl(21 AND (311
     Case 2:13-cv-05861-JLS-AJW Document 24 Filed 10/02/15 Page 5 of 12 Page ID #:514




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     Case 2:13-cv-05861-JLS-AJW Document 24 Filed 10/02/15 Page 6 of 12 Page ID #:515




 1     I.    INTRODUCTION
 2           This action is brought under the ~c ui tam provisions of the False Claims Act
 3 ("FCA"), 31 U.S.C. §§ 3729-3733. The defendant is INSYS Therapeutics, Inc.
 4 ("INSYS"). The ~c ui tam plaintiff("the Relator") is Maria Guzman. Pursuant to the
 5    FCA,31 U.S.C. § 3730(b)(3), and the Stipulation filed concurrently herewith, the United
 6     States of America("United States" or "government") respectfully requests that the Court
 7     grant it an additional six months, to and including April 11, 2016, within which to elect
 8     whether to intervene in the above-captioned action ("this action"). The United States
 9     also requests that the Complaint and all other documents filed or lodged in this action
10    remain under seal for the same period, pursuant to 31 U.S.C. §§ 3730(b)(2) and (3).
11    II.    PROCEDURAL SUMMARY AND RELATOR'S ALLEGATIONS
12           The Relator filed the Complaint in this action on August 12, 2013, under seal as
13    required by the FCA.
14           INSYS is alleged to be a specialty pharmaceutical company headquartered in
15    Chandler, Arizona. INSYS allegedly markets SUBSYS,a powerful fentanyl sublingual
16    spray approved by the Food and Drug Administration("FDA")to treat breakthrough
17    cancer pain in opioid tolerant patients. INSYS allegedly also markets Dronabinol SG
18    Capsule and is awaiting FDA approval for Dronabinol Oral Solution.
19           The Relator alleges that INSYS instituted akickback-fueled off-label marketing
20    campaign to induce doctors to prescribe SUBSYS far beyond its stated indication and its
21    beginning dosage of 100 micrograms. The Relator alleges that INSYS improperly
22    encouraged doctors to quickly titrate patients to higher than appropriate SUBSYS dosage
23    levels. The Relator also alleges that INSYS used a mail order pharmacy to send
24    SUBSYS to patients who had not requested the drug and that the pharmacy did not
25    properly instruct patients on the proper storage of SUBSYS.
26           The Relator further alleges that INSYS instituted programs throughout the country
27    in order improperly to induce doctors to prescribe SUBSYS, providing them with
28    speaker's fees and other monetary payments, trips to strip clubs and shooting ranges,
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     Case 2:13-cv-05861-JLS-AJW Document 24 Filed 10/02/15 Page 7 of 12 Page ID #:516




 1     stock options,jobs for their significant others, expensive meals, and other benefits, in
 2     violation of federal anti-kickback laws.
 3            The Relator alleges that, by its conduct, INSYS violated 31 U.S.C. §§ 3729(a)(1),
 4    42 U.S.C. § 1320a-7b, 21 U.S.C. §§ 331(a) and 360aaa, among other provisions.
 5     III.   THERE IS GOOD CAUSE TO EXTEND THE INTERVENTION
 6            DEADLINE AND SEAL PERIOD
 7            The ~c ui tam provisions of the FCA provide in pertinent part that:
 8            (2)   ...The complaint shall be filed in camera, shall remain under seal
 9            for at least 60 days, and shall not be served on the defendant until the court
10            so orders. The Government may elect to intervene and proceed with the
11            action within 60 days after it receives both the complaint and the material
12            evidence and information.
13            (3)   The Government may, for mood cause shown, move the court for
14            extensions of the time during which the complaint remains under seal under
15            ~ a~~ra~h (2).
              ~ar
16    31 U.S.C. §§ 3730(b)(2) and (3)(emphasis added).
17            The Fourth Circuit has noted that the initial 60-day seal period is designed to
18    enable the government to "investigate the private qui tam relator's allegations and
19    determine whether they present adequate grounds for the government to proceed with the
20    case, and, if adequate grounds exist, to determine whether it is in the government's
21    interest to prosecute the case." United States ex reL Siller v. Becton Dickinson & Co.,
22    21 F.3d 1339, 1343 n.3 (4th Cir. 1994). The court also noted that, "[a]s Congress
23    recognized, these tasks could very well take more than 60 days." Id. As set forth in the
24    accompanying declaration, good cause exists to extend the intervention election period.
25    See attached In Camera Declaration of John E. Lee ("Lee Decl."), ¶ 3.
26            The United States also requests that the Complaint and all other documents filed
27    or lodged in this action remain under seal pursuant to 31 U.S.C. §§ 3730(b)(2) and (3), to
28    allow the United States an adequate opportunity to evaluate fully the private enforcement
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     Case 2:13-cv-05861-JLS-AJW Document 24 Filed 10/02/15 Page 8 of 12 Page ID #:517




 1 ~ suit and to detet-mine whether it is in the United States' interest to intervene in the
 2     relator's ~c ui tam action. As recognized in United States ex rel. Lujan v. Hughes Aircraft
 3     Co., 67 F.3d 242, 245 (9th Cir. 1995)(citation omitted), the government should be
 4     allowed "an adequate opportunity to fully evaluate the private enforcement suit and
 5     determine both if that suit involves matters the Government is already investigating and
 6 ~ whether it is in the Government's interest to intervene and take over the civil action."
 7 ~ Maintaining the seal is important because it allows "the qui tam relator to start the
 8    judicial wheels in motion and protect his litigative rights, while allowing the government
 9     the opportunity to study and evaluate the relator's information for possible intervention
10     in the qui tam action or in relation to an overlapping criminal investigation." Id. As set
11    forth in the Lee Decl., ¶ 4, maintaining the seal is important in the present case.
12    IV.    CONCLUSION
13           For the foregoing reasons, the United States respectfully requests that the Court
14     approve the Stipulation filed herewith and grant the United States asix-month extension
15 ~' of time, to and including April 11, 2016, to determine whether to intervene in this action,
16    during which time the Complaint and all other documents filed or lodged in this action
17     would remain under seal. The Relator has joined in requesting the proposed extension.
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     Case 2:13-cv-05861-JLS-AJW Document 24 Filed 10/02/15 Page 9 of 12 Page ID #:518




 1     Dated: October 7/, ZO15       Respectfully submitted,
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                                     Attorneys for the United States of America
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     Case 2:13-cv-05861-JLS-AJW Document 24 Filed 10/02/15 Page 10 of 12 Page ID #:519




 1                        IN CAMERA DECLARATION OF JOHN E. LEE
 2           I, John E. Lee, declare:
 3            1.    I am the Assistant United States Attorney who, along with Department of
 4     Justice Trial Attorney David T. Cohen, has been assigned responsibility for handling this
 5     action. This declaration is offered in support ofthe United States' request fora six-
 6     month extension of the seal and election period, to and including April 11, 2016. The
 7     Relator has joined in requesting the proposed extension.
 8           2.      Since reporting to the Court for the last extension request, which was
 9     granted on April 3, 2015, the United States has, among other things, undertaken the
10     following investigative activities in this action:
11                  a.     During April, May, June, August, and September 2015, we received
12     INSYS Therapeutics lnc.'s("INSYS")Twentieth through Twenty-Eighth productions of
13     documents in response to an Inspector General subpoena that we served on INSYS. The
14     productions received during this period consist of approximately 186,157 documents
15     comprised of approximately 2,689,824 pages.
16                  b.     In late April 2015, we met in person with INSYS's counsel, John
17     Bentivoglio, Jennifer Bragg, and Maya Florence of Skadden, Arps, Slate, Meagher &
18     Flom,LLP ("Skadden"), at their offices in Washington, D.C., to discuss various issues
19     relating to this action.
20                  c.     During April and May 2015, we interviewed three witnesses
21     regarding the allegations in this action.
22                  d.     In May 2015, the investigative team received, through theUnited
23     States Office ofPersonnel Management, Office of Inspector General, a referral from a
24     national pharmaceutical company regarding INSYS. Since then, we have received, and
25     continue to receive, additional information from the pharmaceutical company.
26                  e.     In June 2015, we interviewed two relators in another qui tam action
27     filed under seal against INSYS in the United States District Court for the Eastern District
28     ofPennsylvania.
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     Case 2:13-cv-05861-JLS-AJW Document 24 Filed 10/02/15 Page 11 of 12 Page ID #:520




 1                  f.    In August 2015, we held further discussions with Skadden counsel
 2 ~ regarding this action.
 3                  g.    In August and September 2015, two additional witnesses were
 4     interviewed regarding the allegations against INSYS.
 5           3.     The United States needs additional time to conduct its investigation. In
6      particular, additional time is needed to undertake the following investigative tasks:
 7                  a.    At this time, we continue to review and analyze voluminous
 8     documents obtained in this investigation. To date, the investigative team has received
9      more than 5 million pages of documents in this action. During the upcoming months, we
10     anticipate continuing to review relevant documents and, if necessary, seeking and
11     obtaining additional documents in this investigation.
12                  b.    We also need to continue to interview numerous additional witnesses
13     in this action, many of whom reside in various other states across the country. We
14     anticipate continuing to interview some of these witnesses before we have received and
15     reviewed all ofthe documents that we have requested pursuant to the Inspector General
16     subpoenas. However, for the majority of witnesses, we anticipate that the interviews
17     will need to be conducted after we have reviewed the bulk ofthe documents that we
18     have requested in this action.
19                  c.    We also continue to coordinate efforts with the United States
20     Attorney's Office for the District of Massachusetts, which is working on a related
21     criminal investigation involving INSYS. We are also coordinating investigative efforts
22     with United States Attorney's Offices in the 1Vliddle District of Florida and the Eastern
23     District of Pennsylvania on related matters involving INSYS.
24                  d.    We also anticipate conducting additional meetings as appropriate
25     with INSYS counsel regarding issues that we began discussing at our April 2015 in-
26     person meeting in Washington, D.C.
27           4.     I believe that six months is the minimum time required to complete these
28     tasks. During this period, maintaining the seal over this action is important to avoid
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     Case 2:13-cv-05861-JLS-AJW Document 24 Filed 10/02/15 Page 12 of 12 Page ID #:521




 1     improper dissemination of confidential information. If more than six months are
 2     ultimately required, the United. States will report to the Court toward the end of the
 3     requested extension period regarding the status of the investigation.
 4           5.     For the foregoing reasons, the United States respectfully requests that the
 5     Court grant asix-month extension ofthe United States' deadline regarding intervention,
6      and the same extension of the seal period, to and including April 11, 2016.
 7           6.     The foregoing is based both on my personal knowledge and on information
 8     I obtained from case agents of the Department of Health and Human Services, Office of
9      Inspector General, and Department of Defense, Defense Criminal Investigative Service,
10     as well as other government officials and sources.
11           I declare under penalty of perjury that the foregoing is true and correct.
12           Executed on October ~LO l 5, at Los Angeles, California.
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                                                     JOHN E. LEE
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